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                            UNITED STATES DISTRICT COURT
                                DISTRICT OF MINNESOTA
                             Case No: 25-cr-00153 (JWB/DJF)


UNITED STATES OF AMERICA

                      Plaintiff,
v.                                                                 NOTICE OF APPEARANCE

Michael Paul Lewis,

                      Defendant.


Pursuant to Rule 83.7(b) of the Local Rules of the United States District Court for the
District of Minnesota, the undersigned attorney hereby notifies the Court and counsel that
Nicole Kettwick shall appear as counsel of record for Michael Paul Lewis, the Defendant in
this case.




Dated: May 7, 2025                        _______________________________________________
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